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IN THE UNITED STATES DISTRICT COURT
F()R THE DISTRICT OF COLUMBIA

THE AMERICAN HOSPITAL
ASSOCIATION, er al. ,

Plaintiffs,
v. No. l:lS-cv-OZ] lZ~IDB
THE DEPARTMENT OF HEALTH

AND HUMAN SERVICES, et al. ,

Defendants.

 

DECLARATION OF KRISTA PEDLEY
l I, Krista Pedley, PharmD, MS, Captain, U.S. Public Health Service, hereby declare and certify as
follows:

l. l am the Director of the Oft`lce of Pharmacy Affairs (“OPA”), Healtlicare Systems
Bureau, I-lealth Resources and Services Administration (“HRSA”), U.S. Department of Health
and Human Services (“Department”).

2. l currently lead OPA, Whicli is the Departmental component responsible for
overseeing the 340B Drug Pricing Program (“340]3 Program”).

3. The 34OB Program, Which is codified in section 34()]3 of the Public Health
Service Act (“PHSA”), 42 U.S.C. § 256b (“Section 340B”), Was established by section 602 of
the Veterans Health Care Act of 1992, Pub. L. 102-585. Section 340B implements a drug
pricing program by Whicli manufacturers Who participate in Medicaid are required to sell
covered outpatient drugs to particular entities listed in the statute (“covered entities”) at a price
that does not exceed the amount determined under a statutory formula (“ceiling price”).

4. Since the last update concerning the implementation of the pricing component of

HRSA’s Ofiice of Pharmacy Affairs Information System (“OPAIS”) provided to the Court on

 

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February 28, 2019, HRSA has continued to Work to provide covered entities access to the OPAIS
pricing system.

5. HRSA received drug pricing data from the Centers for Medicare & Medicaid
Services (CMS) on February ll, 2019. This data has been loaded into the OPAIS pricing system
and will be compared to pricing data received from drug manufacturers

6. As cf March l/-i, 2019, approximately 90 percent of applicable drug
manufacturers (as measured by the total number of active labeler codes in the OPAIS) registered
With the OPAIS pricing system I-IRSA continues to perform outreach to drug manufacturers to
register them in the system.

7. l The pricing data received from CMS indicates that approximately 38,000 separate
national drug codes (NDCs) are subject to 340]3 pricing As of March 1`4, 2019, HRSA received
manufacturer pricing data for approximately 85 percent of these 38,000 NDCs.

8. For the approximately 15 percent of NDCS that drug manufacturers have not
submitted pricing data, HRSA intends to publish a ceiiing price in the OPAIS pricing system
based solely on the pricing data, if availabie, received from Cl\/IS. HRSA has pricing data from
CMS for the large majority of these remaining NDCS.

9. HRSA is in the process of manually reconciling pricing differences As of March
l4, 2019, approximately 100 of the 38,000 separate NDCS subject to 34OB pricing remain to be
reconciled HRSA expects that all of these discrepancies Will be reconciled prior to April l,
2019.

10. Consistent with HRSA’s last update to the Court, the Department still expects that

covered entities Will have access to ceiling prices via the OPAIS pricing system on April i, 2019.

 

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l declare under penalty of perjury that the foregoing is true and correct.

Date: li"(l i l

 
    

afa/wi ap

Kris\ta Pedley, PharmD, MS
CaptainJ U.S. Public Health Servi
Director, Office of Pharmacy Affair
Healthcare Systems Bureau

Health Resotu‘ces and Services Administration
U.S. Department of Health and Human Service

 

